                                                                               Case 14-24984-GLT                        Doc 1
                                                                                                                          Filed 12/26/14 Entered 12/26/14 19:20:38 Desc Main
                                                                     B1 (Official Form 1) (04/13)                         Document      Page 1 of 30
                                                                                                           United States Bankruptcy Court
                                                                                                           Western District of Pennsylvania                      Voluntary Petition
                                                                      Name of Debtor (if individual, enter Last, First, Middle):                              Name of Joint Debtor (Spouse) (Last, First, Middle):
                                                                      Watkins, Karen D.
                                                                      All Other Names used by the Debtor in the last 8 years                                  All Other Names used by the Joint Debtor in the last 8 years
                                                                      (include married, maiden, and trade names):                                             (include married, maiden, and trade names):



                                                                      Last four digits of Soc. Sec. or Individual-Taxpayer I.D. (ITIN) /Complete EIN          Last four digits of Soc. Sec. or Individual-Taxpayer I.D. (ITIN) /Complete EIN
                                                                      (if more than one, state all):     3556                                                 (if more than one, state all):

                                                                      Street Address of Debtor (No. & Street, City, State & Zip Code):                        Street Address of Joint Debtor (No. & Street, City, State & Zip Code):
                                                                      2313 Crestas Avenue
                                                                      North Versailles, PA
                                                                                                                            ZIPCODE 15137                                                                                    ZIPCODE
                                                                      County of Residence or of the Principal Place of Business:                              County of Residence or of the Principal Place of Business:
                                                                      Allegheny
                                                                      Mailing Address of Debtor (if different from street address)                            Mailing Address of Joint Debtor (if different from street address):


                                                                                                                             ZIPCODE                                                                                         ZIPCODE
                                                                      Location of Principal Assets of Business Debtor (if different from street address above):

                                                                                                                                                                                                                             ZIPCODE
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                                                                                         Type of Debtor                                      Nature of Business                                Chapter of Bankruptcy Code Under Which
                                                                                     (Form of Organization)                                   (Check one box.)                                    the Petition is Filed (Check one box.)
                                                                                        (Check one box.)                           Health Care Business                                    Chapter 7                    Chapter 15 Petition for
                                                                        Individual (includes Joint Debtors)                        Single Asset Real Estate as defined in 11               Chapter 9                    Recognition of a Foreign
                                                                        See Exhibit D on page 2 of this form.                      U.S.C. § 101(51B)                                       Chapter 11                   Main Proceeding
                                                                        Corporation (includes LLC and LLP)                         Railroad                                                Chapter 12                   Chapter 15 Petition for
                                                                        Partnership                                                Stockbroker                                             Chapter 13                   Recognition of a Foreign
                                                                        Other (If debtor is not one of the above entities,         Commodity Broker                                                                     Nonmain Proceeding
                                                                        check this box and state type of entity below.)            Clearing Bank                                                              Nature of Debts
                                                                                                                                   Other                                                                      (Check one box.)
                                                                                      Chapter 15 Debtor                                                                                     Debts are primarily consumer       Debts are primarily
                                                                      Country of debtor’s center of main interests:                           Tax-Exempt Entity                            debts, defined in 11 U.S.C.         business debts.
                                                                      __________________________________________                           (Check box, if applicable.)                     § 101(8) as “incurred by an
                                                                      Each country in which a foreign proceeding by,               Debtor is a tax-exempt organization under               individual primarily for a
                                                                      regarding, or against debtor is pending:                     Title 26 of the United States Code (the                 personal, family, or house-
                                                                      __________________________________________                   Internal Revenue Code).                                 hold purpose.”
                                                                                          Filing Fee (Check one box)                                                             Chapter 11 Debtors
                                                                                                                                             Check one box:
                                                                        Full Filing Fee attached
                                                                                                                                               Debtor is a small business debtor as defined in 11 U.S.C. § 101(51D).
                                                                                                                                               Debtor is not a small business debtor as defined in 11 U.S.C. § 101(51D).
                                                                        Filing Fee to be paid in installments (Applicable to individuals
                                                                        only). Must attach signed application for the court’s                Check if:
                                                                        consideration certifying that the debtor is unable to pay fee            Debtor’s aggregate noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less
                                                                        except in installments. Rule 1006(b). See Official Form 3A.              than $2,490,925 (amount subject to adjustment on 4/01/16 and every three years thereafter).
                                                                                                                                               ----------------------------------------------------------------
                                                                        Filing Fee waiver requested (Applicable to chapter 7 individuals     Check all applicable boxes:
                                                                        only). Must attach signed application for the court’s                  A plan is being filed with this petition
                                                                        consideration. See Official Form 3B.                                   Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                                                                                               accordance with 11 U.S.C. § 1126(b).
                                                                      Statistical/Administrative Information                                                                                                                      THIS SPACE IS FOR
                                                                         Debtor estimates that funds will be available for distribution to unsecured creditors.                                                                   COURT USE ONLY
                                                                         Debtor estimates that, after any exempt property is excluded and administrative expenses paid, there will be no funds available for
                                                                         distribution to unsecured creditors.
                                                                     Estimated Number of Creditors

                                                                     1-49      50-99         100-199      200-999       1,000-         5,001-           10,001-             25,001-             50,001-           Over
                                                                                                                        5,000          10,000           25,000              50,000              100,000           100,000
                                                                     Estimated Assets

                                                                     $0 to   $50,001 to $100,001 to $500,001 to $1,000,001 to $10,000,001 $50,000,001 to $100,000,001 $500,000,001 More than
                                                                     $50,000 $100,000 $500,000      $1 million $10 million    to $50 million $100 million to $500 million to $1 billion $1 billion
                                                                     Estimated Liabilities

                                                                     $0 to   $50,001 to $100,001 to $500,001 to $1,000,001 to $10,000,001 $50,000,001 to $100,000,001 $500,000,001 More than
                                                                     $50,000 $100,000 $500,000      $1 million $10 million    to $50 million $100 million to $500 million to $1 billion $1 billion
                                                                                  Case 14-24984-GLT               Doc 1        Filed 12/26/14 Entered 12/26/14 19:20:38                                      Desc Main
                                                                     B1 (Official Form 1) (04/13)                              Document     Page 2 of 30                                                                    Page 2
                                                                     Voluntary Petition                                                              Name of Debtor(s):
                                                                      (This page must be completed and filed in every case)                          Watkins, Karen D.

                                                                                           All Prior Bankruptcy Case Filed Within Last 8 Years (If more than two, attach additional sheet)
                                                                      Location                                                                       Case Number:                              Date Filed:
                                                                      Where Filed:Pittsburgh                                                         09-22645                                  4/14/2009
                                                                      Location                                                                       Case Number:                              Date Filed:
                                                                      Where Filed:N/A
                                                                         Pending Bankruptcy Case Filed by any Spouse, Partner or Affiliate of this Debtor (If more than one, attach additional sheet)
                                                                      Name of Debtor:                                                                Case Number:                              Date Filed:
                                                                      None
                                                                      District:                                                                      Relationship:                             Judge:


                                                                                                     Exhibit A                                                                            Exhibit B
                                                                      (To be completed if debtor is required to file periodic reports (e.g., forms                   (To be completed if debtor is an individual
                                                                      10K and 10Q) with the Securities and Exchange Commission pursuant to                          whose debts are primarily consumer debts.)
                                                                      Section 13 or 15(d) of the Securities Exchange Act of 1934 and is              I, the attorney for the petitioner named in the foregoing petition, declare
                                                                      requesting relief under chapter 11.)                                           that I have informed the petitioner that [he or she] may proceed under
                                                                                                                                                     chapter 7, 11, 12, or 13 of title 11, United States Code, and have
                                                                          Exhibit A is attached and made a part of this petition.                    explained the relief available under each such chapter. I further certify
                                                                                                                                                     that I delivered to the debtor the notice required by 11 U.S.C. § 342(b).
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                                                                                                                                                     X   /s/ Franklin L. Robinson, Jr.                                12/26/14
                                                                                                                                                         Signature of Attorney for Debtor(s)                                 Date

                                                                                                                                             Exhibit C
                                                                      Does the debtor own or have possession of any property that poses or is alleged to pose a threat of imminent and identifiable harm to public health
                                                                      or safety?
                                                                          Yes, and Exhibit C is attached and made a part of this petition.
                                                                          No

                                                                                                                                             Exhibit D
                                                                      (To be completed by every individual debtor. If a joint petition is filed, each spouse must complete and attach a separate Exhibit D.)
                                                                              Exhibit D completed and signed by the debtor is attached and made a part of this petition.
                                                                      If this is a joint petition:
                                                                                Exhibit D also completed and signed by the joint debtor is attached a made a part of this petition.

                                                                                                                        Information Regarding the Debtor - Venue
                                                                                                                                    (Check any applicable box.)
                                                                              Debtor has been domiciled or has had a residence, principal place of business, or principal assets in this District for 180 days immediately
                                                                              preceding the date of this petition or for a longer part of such 180 days than in any other District.
                                                                              There is a bankruptcy case concerning debtor’s affiliate, general partner, or partnership pending in this District.
                                                                              Debtor is a debtor in a foreign proceeding and has its principal place of business or principal assets in the United States in this District,
                                                                              or has no principal place of business or assets in the United States but is a defendant in an action or proceeding [in a federal or state court]
                                                                              in this District, or the interests of the parties will be served in regard to the relief sought in this District.

                                                                                                    Certification by a Debtor Who Resides as a Tenant of Residential Property
                                                                                                                                (Check all applicable boxes.)
                                                                              Landlord has a judgment against the debtor for possession of debtor’s residence. (If box checked, complete the following.)


                                                                                                                            (Name of landlord that obtained judgment)

                                                                                                                                        (Address of landlord)
                                                                              Debtor claims that under applicable nonbankruptcy law, there are circumstances under which the debtor would be permitted to cure
                                                                              the entire monetary default that gave rise to the judgment for possession, after the judgment for possession was entered, and
                                                                              Debtor has included in this petition the deposit with the court of any rent that would become due during the 30-day period after the
                                                                              filing of the petition.
                                                                              Debtor certifies that he/she has served the Landlord with this certification. (11 U.S.C. § 362(l)).
                                                                                 Case 14-24984-GLT                       Doc 1       Filed 12/26/14 Entered 12/26/14 19:20:38                                              Desc Main
                                                                     B1 (Official Form 1) (04/13)                                    Document     Page 3 of 30                                                                                      Page 3
                                                                     Voluntary Petition                                                                     Name of Debtor(s):
                                                                      (This page must be completed and filed in every case)                                 Watkins, Karen D.

                                                                                                                                                      Signatures
                                                                                     Signature(s) of Debtor(s) (Individual/Joint)                                               Signature of a Foreign Representative
                                                                      I declare under penalty of perjury that the information provided in this              I declare under penalty of perjury that the information provided in this
                                                                      petition is true and correct.                                                         petition is true and correct, that I am the foreign representative of a debtor
                                                                      [If petitioner is an individual whose debts are primarily consumer debts              in a foreign proceeding, and that I am authorized to file this petition.
                                                                      and has chosen to file under Chapter 7] I am aware that I may proceed                 (Check only one box.)
                                                                      under chapter 7, 11, 12 or 13 of title 11, United States Code, understand
                                                                                                                                                                 I request relief in accordance with chapter 15 of title 11, United
                                                                      the relief available under each such chapter, and choose to proceed under
                                                                                                                                                                 States Code. Certified copies of the documents required by 11 U.S.C.
                                                                      chapter 7.
                                                                                                                                                                 § 1515 are attached.
                                                                      [If no attorney represents me and no bankruptcy petition preparer signs
                                                                      the petition] I have obtained and read the notice required by 11 U.S.C. §                  Pursuant to 11 U.S.C. § 1511, I request relief in accordance with the
                                                                      342(b).                                                                                    chapter of title 11 specified in this petition. A certified copy of the
                                                                      I request relief in accordance with the chapter of title 11, United States                 order granting recognition of the foreign main proceeding is attached.
                                                                      Code, specified in this petition.
                                                                                                                                                            X
                                                                      X   /s/ Karen D. Watkins                                                                   Signature of Foreign Representative
                                                                          Signature of Debtor                                  Karen D. Watkins
                                                                      X                                                                                          Printed Name of Foreign Representative
                                                                          Signature of Joint Debtor

                                                                                                                                                                 Date
                                                                          Telephone Number (If not represented by attorney)
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                                                                          December 26, 2014
                                                                          Date

                                                                                                      Signature of Attorney*                                                 Signature of Non-Attorney Petition Preparer
                                                                                                                                                            I declare under penalty of perjury that: 1) I am a bankruptcy petition
                                                                      X   /s/ Franklin L. Robinson, Jr.                                                     preparer as defined in 11 U.S.C. § 110; 2) I prepared this document for
                                                                          Signature of Attorney for Debtor(s)                                               compensation and have provided the debtor with a copy of this document
                                                                                                                                                            and the notices and information required under 11 U.S.C. §§ 110(b),
                                                                          Franklin L. Robinson, Jr. 74464                                                   110(h) and 342(b); and 3) if rules or guidelines have been promulgated
                                                                          Franklin L. Robinson, Jr.                                                         pursuant to 11 U.S.C. § 110(h) setting a maximum fee for services
                                                                          5907 Penn Avenue, Suite 200                                                       chargeable by bankruptcy petition preparers, I have given the debtor
                                                                          Pittsburgh, PA 15206-3836                                                         notice of the maximum amount before preparing any document for filing
                                                                          (412) 363-6685 Fax: (412) 363-1169                                                for a debtor or accepting any fee from the debtor, as required in that
                                                                          frobi69704@aol.com                                                                section. Official Form 19 is attached.

                                                                                                                                                            Printed Name and title, if any, of Bankruptcy Petition Preparer


                                                                                                                                                            Social Security Number (If the bankruptcy petition preparer is not an individual, state the
                                                                                                                                                            Social Security number of the officer, principal, responsible person or partner of the
                                                                                                                                                            bankruptcy petition preparer.) (Required by 11 U.S.C. § 110.)
                                                                          December 26, 2014
                                                                          Date
                                                                      *In a case in which § 707(b)(4)(D) applies, this signature also constitutes a         Address
                                                                      certification that the attorney has no knowledge after an inquiry that the
                                                                      information in the schedules is incorrect.

                                                                                  Signature of Debtor (Corporation/Partnership)
                                                                      I declare under penalty of perjury that the information provided in this              X
                                                                      petition is true and correct, and that I have been authorized to file this                 Signature
                                                                      petition on behalf of the debtor.
                                                                                                                                                                 Date
                                                                      The debtor requests relief in accordance with the chapter of title 11,                Signature of Bankruptcy Petition Preparer or officer, principal, responsible
                                                                      United States Code, specified in this petition.                                       person, or partner whose social security number is provided above.

                                                                                                                                                            Names and Social-Security numbers of all other individuals who prepared or
                                                                      X                                                                                     assisted in preparing this document unless the bankruptcy petition preparer is
                                                                          Signature of Authorized Individual                                                not an individual:

                                                                                                                                                            If more than one person prepared this document, attach additional sheets
                                                                          Printed Name of Authorized Individual
                                                                                                                                                            conforming to the appropriate official form for each person.
                                                                                                                                                            A bankruptcy petition preparer’s failure to comply with the provisions of title 11
                                                                          Title of Authorized Individual                                                    and the Federal Rules of Bankruptcy Procedure may result in fines or
                                                                                                                                                            imprisonment or both 11 U.S.C. § 110; 18 U.S.C. § 156.
                                                                          Date
                                                                             Case
                                                                     B6 Summary       14-24984-GLT
                                                                                (Official                       Doc
                                                                                          Form 6 - Summary) (12/14)            1      Filed 12/26/14 Entered 12/26/14 19:20:38                                     Desc Main
                                                                                                                                      Document     Page 4 of 30
                                                                                                                                   United States Bankruptcy Court
                                                                                                                                   Western District of Pennsylvania

                                                                     IN RE:                                                                                                                Case No.
                                                                     Watkins, Karen D.                                                                                                     Chapter 13
                                                                                                                          Debtor(s)

                                                                                                                                    SUMMARY OF SCHEDULES
                                                                     Indicate as to each schedule whether that schedule is attached and state the number of pages in each. Report the totals from Schedules A, B, D, E, F, I, and J in the boxes
                                                                     provided. Add the amounts from Schedules A and B to determine the total amount of the debtor’s assets. Add the amounts of all claims from Schedules D, E, and F to
                                                                     determine the total amount of the debtor’s liabilities. Individual debtors also must complete the “Statistical Summary of Certain Liabilities and Related Data” if they file
                                                                     a case under chapter 7, 11, or 13.

                                                                                                                                   ATTACHED           NO. OF
                                                                      NAME OF SCHEDULE
                                                                                                                                    (YES/NO)          SHEETS                 ASSETS                 LIABILITIES                OTHER


                                                                      A - Real Property                                               Yes                          1 $           25,000.00



                                                                      B - Personal Property                                           Yes                          3 $           14,701.00



                                                                      C - Property Claimed as Exempt                                  Yes                          1
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                                                                      D - Creditors Holding Secured Claims                            Yes                          1                            $         41,959.00


                                                                      E - Creditors Holding Unsecured Priority
                                                                                                                                      Yes                          2                            $          3,708.72
                                                                          Claims (Total of Claims on Schedule E)

                                                                      F - Creditors Holding Unsecured
                                                                                                                                      Yes                        13                             $       113,509.75
                                                                          Nonpriority Claims

                                                                      G - Executory Contracts and Unexpired
                                                                                                                                      Yes                          1
                                                                          Leases


                                                                      H - Codebtors                                                   Yes                          1


                                                                      I - Current Income of Individual
                                                                                                                                      Yes                          2                                                     $                0.00
                                                                          Debtor(s)

                                                                      J - Current Expenditures of Individual
                                                                                                                                      Yes                          3                                                     $           2,355.00
                                                                          Debtor(s)


                                                                                                                                      TOTAL                      28 $            39,701.00 $            159,177.47
                                                                             Case
                                                                     B 6 Summary       14-24984-GLT
                                                                                 (Official                      Doc
                                                                                           Form 6 - Summary) (12/14)   1    Filed 12/26/14 Entered 12/26/14 19:20:38                Desc Main
                                                                                                                            Document     Page 5 of 30
                                                                                                                           United States Bankruptcy Court
                                                                                                                           Western District of Pennsylvania

                                                                     IN RE:                                                                                       Case No.
                                                                     Watkins, Karen D.                                                                            Chapter 13
                                                                                                                Debtor(s)

                                                                             STATISTICAL SUMMARY OF CERTAIN LIABILITIES AND RELATED DATA (28 U.S.C. § 159)
                                                                              If you are an individual debtor whose debts are primarily consumer debts, as defined in § 101(8) of the Bankruptcy Code (11
                                                                     U.S.C. § 101(8)), filing a case under chapter 7, 11 or 13, you must report all information requested below.

                                                                                Check this box if you are an individual debtor whose debts are NOT primarily consumer debts. You are not required to report
                                                                     any information here.

                                                                     This information is for statistical purposes only under 28 U.S.C. § 159.

                                                                     Summarize the following types of liabilities, as reported in the Schedules, and total them.

                                                                      Type of Liability                                                                                        Amount

                                                                      Domestic Support Obligations (from Schedule E)                                                    $           0.00

                                                                      Taxes and Certain Other Debts Owed to Governmental Units (from Schedule E)                        $      3,708.72
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                                                                      Claims for Death or Personal Injury While Debtor Was Intoxicated (from Schedule E) (whether
                                                                      disputed or undisputed)                                                                           $           0.00

                                                                      Student Loan Obligations (from Schedule F)                                                        $           0.00

                                                                      Domestic Support, Separation Agreement, and Divorce Decree Obligations Not Reported on
                                                                      Schedule E                                                                                        $           0.00

                                                                      Obligations to Pension or Profit-Sharing, and Other Similar Obligations (from Schedule F)         $           0.00

                                                                                                                                                              TOTAL     $      3,708.72


                                                                      State the following:

                                                                      Average Income (from Schedule I, Line 12)                                                         $           0.00

                                                                      Average Expenses (from Schedule J, Line 22)                                                       $      2,355.00

                                                                      Current Monthly Income (from Form 22A-1 Line 11; OR, Form 22B Line 14; OR, Form 22C-1
                                                                      Line 14 )                                                                                         $        794.67


                                                                      State the following:

                                                                      1. Total from Schedule D, “UNSECURED PORTION, IF ANY” column                                                         $    31,959.00

                                                                      2. Total from Schedule E, “AMOUNT ENTITLED TO PRIORITY” column.                                   $      3,708.72

                                                                      3. Total from Schedule E, “AMOUNT NOT ENTITLED TO PRIORITY, IF ANY” column                                           $          0.00

                                                                      4. Total from Schedule F                                                                                             $   113,509.75

                                                                      5. Total of non-priority unsecured debt (sum of 1, 3, and 4)                                                         $   145,468.75
                                                                               Case
                                                                     B6D (Official Form 14-24984-GLT
                                                                                        6D) (12/07)                     Doc 1                         Filed 12/26/14 Entered 12/26/14 19:20:38                                                                          Desc Main
                                                                                                                                                      Document     Page 6 of 30
                                                                     IN RE Watkins, Karen D.                                                                                                                     Case No.
                                                                                                                                 Debtor(s)                                                                                                                                      (If known)

                                                                                                             SCHEDULE D - CREDITORS HOLDING SECURED CLAIMS
                                                                        State the name, mailing address, including zip code, and last four digits of any account number of all entities holding claims secured by property of the debtor as of the
                                                                     date of filing of the petition. The complete account number of any account the debtor has with the creditor is useful to the trustee and the creditor and may be provided if
                                                                     the debtor chooses to do so. List creditors holding all types of secured interests such as judgment liens, garnishments, statutory liens, mortgages, deeds of trust, and other
                                                                     security interests.
                                                                       List creditors in alphabetical order to the extent practicable. If a minor child is the creditor, state the child's initials and the name and address of the child's parent or
                                                                     guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m). If all secured creditors
                                                                     will not fit on this page, use the continuation sheet provided.
                                                                       If any entity other than a spouse in a joint case may be jointly liable on a claim, place an “X” in the column labeled “Codebtor,” include the entity on the appropriate
                                                                     schedule of creditors, and complete Schedule H – Codebtors. If a joint petition is filed, state whether the husband, wife, both of them, or the marital community may be liable
                                                                     on each claim by placing an “H,” “W,” “J,” or “C” in the column labeled “Husband, Wife, Joint, or Community.”
                                                                        If the claim is contingent, place an “X” in the column labeled “Contingent.” If the claim is unliquidated, place an “X” in the column labeled “Unliquidated.” If the claim
                                                                     is disputed, place an “X” in the column labeled “Disputed.” (You may need to place an “X” in more than one of these three columns.)
                                                                        Total the columns labeled “Amount of Claim Without Deducting Value of Collateral” and “Unsecured Portion, if Any” in the boxes labeled “Total(s)” on the last sheet
                                                                     of the completed schedule. Report the total from the column labeled “Amount of Claim Without Deducting Value of Collateral” also on the Summary of Schedules and,
                                                                     if the debtor is an individual with primarily consumer debts, report the total from the column labeled “Unsecured Portion, if Any” on the Statistical Summary of Certain
                                                                     Liabilities and Related Data.

                                                                         Check this box if debtor has no creditors holding secured claims to report on this Schedule D.
                                                                                                                                           HUSBAND, WIFE, JOINT,
                                                                                                                                              OR COMMUNITY




                                                                                                                                                                                                                                    UNLIQUIDATED
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                                                                                                                                                                                                                       CONTINGENT
                                                                                                                                CODEBTOR




                                                                                                                                                                                                                                                                 AMOUNT OF




                                                                                                                                                                                                                                                   DISPUTED
                                                                              CREDITOR'S NAME AND MAILING ADDRESS                                                              DATE CLAIM WAS INCURRED,                                                        CLAIM WITHOUT
                                                                                                                                                                                                                                                                                         UNSECURED
                                                                            INCLUDING ZIP CODE AND ACCOUNT NUMBER.                                                    NATURE OF LIEN, AND DESCRIPTION AND VALUE OF                                               DEDUCTING
                                                                                                                                                                                                                                                                                       PORTION, IF ANY
                                                                                       (See Instructions Above.)                                                                PROPERTY SUBJECT TO LIEN                                                          VALUE OF
                                                                                                                                                                                                                                                                COLLATERAL




                                                                     ACCOUNT NO. 5052164007950323                                                                  5/2005 Line of credit                                                                            26,647.00                26,647.00
                                                                     American General Finance
                                                                     P.O. Box 3251
                                                                     Evansville, IN 47731

                                                                                                                                                                   VALUE $

                                                                     ACCOUNT NO. 447556721                                                                         1/2012 AUTO LOAN                                                                                 15,312.00                  5,312.00
                                                                     GM Financial
                                                                     P.O. BOX 78143
                                                                     PHOENIX, AZ 85062-8143

                                                                                                                                                                   VALUE $ 10,000.00

                                                                     ACCOUNT NO.




                                                                                                                                                                   VALUE $

                                                                     ACCOUNT NO.




                                                                                                                                                                   VALUE $
                                                                                                                                                                                                                        Subtotal
                                                                            0 continuation sheets attached                                                                                                  (Total of this page) $                                  41,959.00 $              31,959.00
                                                                                                                                                                                                                          Total
                                                                                                                                                                                                        (Use only on last page) $                                   41,959.00 $              31,959.00
                                                                                                                                                                                                                                                              (Report also on         (If applicable, report
                                                                                                                                                                                                                                                              Summary of              also on Statistical
                                                                                                                                                                                                                                                              Schedules.)             Summary of Certain
                                                                                                                                                                                                                                                                                      Liabilities and Related
                                                                                                                                                                                                                                                                                      Data.)
                                                                               Case
                                                                     B6E (Official Form 14-24984-GLT
                                                                                        6E) (04/13)                      Doc 1         Filed 12/26/14 Entered 12/26/14 19:20:38                                          Desc Main
                                                                                                                                       Document     Page 7 of 30
                                                                     IN RE Watkins, Karen D.                                                                                                   Case No.
                                                                                                                                 Debtor(s)                                                                                   (If known)

                                                                                                SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS
                                                                        A complete list of claims entitled to priority, listed separately by type of priority, is to be set forth on the sheets provided. Only holders of unsecured claims entitled to
                                                                     priority should be listed in this schedule. In the boxes provided on the attached sheets, state the name, mailing address, including zip code, and last four digits of the account
                                                                     number, if any, of all entities holding priority claims against the debtor or the property of the debtor, as of the date of the filing of the petition. Use a separate continuation
                                                                     sheet for each type of priority and label each with the type of priority.

                                                                        The complete account number of any account the debtor has with the creditor is useful to the trustee and the creditor and may be provided if the debtor chooses to do so.
                                                                     If a minor child is a creditor, state the child's initials and the name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do
                                                                     not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).

                                                                       If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor," include the entity on the appropriate
                                                                     schedule of creditors, and complete Schedule H-Codebtors. If a joint petition is filed, state whether the husband, wife, both of them, or the marital community may be liable
                                                                     on each claim by placing an "H," "W," "J," or "C" in the column labeled "Husband, Wife, Joint, or Community." If the claim is contingent, place an "X" in the column labeled
                                                                     "Contingent." If the claim is unliquidated, place an "X" in the column labeled "Unliquidated." If the claim is disputed, place an "X" in the column labeled "Disputed." (You
                                                                     may need to place an "X" in more than one of these three columns.)

                                                                       Report the total of claims listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all claims listed on this Schedule E in the box labeled “Total”
                                                                     on the last sheet of the completed schedule. Report this total also on the Summary of Schedules.

                                                                       Report the total of amounts entitled to priority listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all amounts entitled to priority listed
                                                                     on this Schedule E in the box labeled “Totals” on the last sheet of the completed schedule. Individual debtors with primarily consumer debts report this total also on the
                                                                     Statistical Summary of Certain Liabilities and Related Data.

                                                                        Report the total of amounts not entitled to priority listed on each sheet in the box labeled “Subtotals” on each sheet. Report the total of all amounts not entitled to priority
                                                                     listed on this Schedule E in the box labeled “Totals” on the last sheet of the completed schedule. Individual debtors with primarily consumer debts report this total also on
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                                                                     the Statistical Summary of Certain Liabilities and Related Data.

                                                                         Check this box if debtor has no creditors holding unsecured priority claims to report on this Schedule E.

                                                                     TYPES OF PRIORITY CLAIMS (Check the appropriate box(es) below if claims in that category are listed on the attached sheets)
                                                                          Domestic Support Obligations
                                                                          Claims for domestic support that are owed to or recoverable by a spouse, former spouse, or child of the debtor, or the parent, legal guardian, or
                                                                          responsible relative of such a child, or a governmental unit to whom such a domestic support claim has been assigned to the extent provided in 11
                                                                          U.S.C. § 507(a)(1).
                                                                          Extensions of credit in an involuntary case
                                                                          Claims arising in the ordinary course of the debtor's business or financial affairs after the commencement of the case but before the earlier of the
                                                                          appointment of a trustee or the order for relief. 11 U.S.C. § 507(a)(3).
                                                                          Wages, salaries, and commissions
                                                                          Wages, salaries, and commissions, including vacation, severance, and sick leave pay owing to employees and commissions owing to qualifying
                                                                          independent sales representatives up to $12,475* per person earned within 180 days immediately preceding the filing of the original petition, or the
                                                                          cessation of business, whichever occurred first, to the extent provided in 11 U.S.C. § 507(a)(4).
                                                                          Contributions to employee benefit plans
                                                                          Money owed to employee benefit plans for services rendered within 180 days immediately preceding the filing of the original petition, or the
                                                                          cessation of business, whichever occurred first, to the extent provided in 11 U.S.C. § 507(a)(5).
                                                                          Certain farmers and fishermen
                                                                          Claims of certain farmers and fishermen, up to $6,150* per farmer or fisherman, against the debtor, as provided in 11 U.S.C. § 507(a)(6).
                                                                          Deposits by individuals
                                                                          Claims of individuals up to $2,775* for deposits for the purchase, lease, or rental of property or services for personal, family, or household use, that
                                                                          were not delivered or provided. 11 U.S.C. § 507(a)(7).
                                                                          Taxes and Certain Other Debts Owed to Governmental Units
                                                                          Taxes, customs duties, and penalties owing to federal, state, and local governmental units as set forth in 11 U.S.C. § 507(a)(8).
                                                                          Commitments to Maintain the Capital of an Insured Depository Institution
                                                                          Claims based on commitments to the FDIC, RTC, Director of the Office of Thrift Supervision, Comptroller of the Currency, or Board of Governors
                                                                          of the Federal Reserve System, or their predecessors or successors, to maintain the capital of an insured depository institution. 11 U.S.C. § 507 (a)(9).
                                                                          Claims for Death or Personal Injury While Debtor Was Intoxicated
                                                                          Claims for death or personal injury resulting from the operation of a motor vehicle or vessel while the debtor was intoxicated from using alcohol,
                                                                          a drug, or another substance. 11 U.S.C. § 507(a)(10).

                                                                          * Amounts are subject to adjustment on 4/01/16, and every three years thereafter with respect to cases commenced on or after the date of adjustment.

                                                                            1 continuation sheets attached
                                                                               Case
                                                                     B6E (Official Form 14-24984-GLT
                                                                                        6E) (04/13) - Cont.            Doc 1                                 Filed 12/26/14 Entered 12/26/14 19:20:38                                                                              Desc Main
                                                                                                                                                             Document     Page 8 of 30
                                                                     IN RE Watkins, Karen D.                                                                                                                                                                   Case No.
                                                                                                                                                    Debtor(s)                                                                                                                         (If known)

                                                                                              SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS
                                                                                                                   (Continuation Sheet)

                                                                                                            Taxes and Other Certain Debts Owed to Governmental Units
                                                                                                                                                               (Type of Priority for Claims Listed on This Sheet)




                                                                                                                                   HUSBAND, WIFE, JOINT,
                                                                                                                                      OR COMMUNITY




                                                                                                                                                                                                                                 UNLIQUIDATED
                                                                                                                                                                                                                                                                                                   AMOUNT




                                                                                                                                                                                                                    CONTINGENT
                                                                                                                        CODEBTOR




                                                                                                                                                                                                                                                DISPUTED
                                                                                                                                                                                                                                                                                AMOUNT                NOT
                                                                           CREDITOR'S NAME, MAILING ADDRESS                                                                                                                                                     AMOUNT
                                                                                                                                                                 DATE CLAIM WAS INCURRED                                                                                        ENTITLED           ENTITLED
                                                                        INCLUDING ZIP CODE AND ACCOUNT NUMBER.                                                                                                                                                     OF
                                                                                                                                                               AND CONSIDERATION FOR CLAIM                                                                                         TO                  TO
                                                                                   (See Instructions above.)                                                                                                                                                     CLAIM
                                                                                                                                                                                                                                                                                PRIORITY           PRIORITY,
                                                                                                                                                                                                                                                                                                    IF ANY




                                                                     ACCOUNT NO. 376-M-249                                                                 7/1/2014 PROPERTY/REAL
                                                                     MARY ANN FETSICK TAX COLLECTOR                                                        ESTATE TAX
                                                                     1401 GREENSBURG AVE STE 3
                                                                     NORTH VERSAILLES, PA 15137


                                                                                                                                                                                                                                                                   321.11           321.11
                                                                                                                                                           11/8/2013 CIVIL JUDGMENT
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                                                                     ACCOUNT NO. MJ-05211-CV-0000360-2013
                                                                     MICHAELS, LOUIIS & aSSOCIATES INC
                                                                     PO BOX 1062
                                                                     MOON TWP, PA 15108


                                                                                                                                                                                                                                                                 1,916.61        1,916.61
                                                                     ACCOUNT NO. 9617404232100012008....                                                   5/2008 EDUCATION LOAN
                                                                     NAVIENT
                                                                     PO BOX 9500
                                                                     WILKES BARRE, PA 18773

                                                                                                                                                                                                                                                                 1,471.00        1,471.00
                                                                     ACCOUNT NO.




                                                                     ACCOUNT NO.




                                                                     ACCOUNT NO.




                                                                     Sheet no.       1 of        1 continuation sheets attached to                                                                           Subtotal
                                                                     Schedule of Creditors Holding Unsecured Priority Claims                                                                    (Totals of this page)                                      $     3,708.72 $      3,708.72 $
                                                                                                                                                                           Total
                                                                                    (Use only on last page of the completed Schedule E. Report also on the Summary of Schedules.) $                                                                              3,708.72
                                                                                                                                                                                 Total
                                                                                                                   (Use only on last page of the completed Schedule E. If applicable,
                                                                                                      report also on the Statistical Summary of Certain Liabilities and Related Data.)                                                                                      $    3,708.72 $
                                                                               Case
                                                                     B6F (Official      14-24984-GLT
                                                                                   Form 6F) (12/07)                     Doc 1         Filed 12/26/14 Entered 12/26/14 19:20:38                                                           Desc Main
                                                                                                                                      Document     Page 9 of 30
                                                                     IN RE Watkins, Karen D.                                                                                                                      Case No.
                                                                                                                                 Debtor(s)                                                                                                              (If known)

                                                                                           SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                        State the name, mailing address, including zip code, and last four digits of any account number, of all entities holding unsecured claims without priority against the debtor
                                                                     or the property of the debtor, as of the date of filing of the petition. The complete account number of any account the debtor has with the creditor is useful to the trustee and
                                                                     the creditor and may be provided if the debtor chooses to do so. If a minor child is a creditor, state the child's initials and the name and address of the child's parent or
                                                                     guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m). Do not include claims
                                                                     listed in Schedules D and E. If all creditors will not fit on this page, use the continuation sheet provided.

                                                                       If any entity other than a spouse in a joint case may be jointly liable on a claim, place an “X” in the column labeled “Codebtor,” include the entity on the appropriate
                                                                     schedule of creditors, and complete Schedule H - Codebtors. If a joint petition is filed, state whether the husband, wife, both of them, or the marital community may be liable
                                                                     on each claim by placing an “H,” “W,” “J,” or “C” in the column labeled “Husband, Wife, Joint, or Community.”

                                                                        If the claim is contingent, place an “X” in the column labeled “Contingent.” If the claim is unliquidated, place an “X” in the column labeled “Unliquidated.” If the claim
                                                                     is disputed, place an “X” in the column labeled “Disputed.” (You may need to place an “X” in more than one of these three columns.)

                                                                       Report the total of all claims listed on this schedule in the box labeled “Total” on the last sheet of the completed schedule. Report this total also on the Summary of
                                                                     Schedules and, if the debtor is an individual with primarily consumer debts, report this total also on the Statistical Summary of Certain Liabilities and Related Data.

                                                                         Check this box if debtor has no creditors holding unsecured nonpriority claims to report on this Schedule F.
                                                                                                                                                  HUSBAND, WIFE, JOINT,
                                                                                                                                                     OR COMMUNITY




                                                                                                                                                                                                                                                        UNLIQUIDATED
                                                                                                                                                                                                                                           CONTINGENT
                                                                                                                                       CODEBTOR




                                                                                                                                                                                                                                                                       DISPUTED
                                                                                   CREDITOR'S NAME, MAILING ADDRESS                                                                     DATE CLAIM WAS INCURRED AND                                                               AMOUNT
                                                                               INCLUDING ZIP CODE, AND ACCOUNT NUMBER.                                                                CONSIDERATION FOR CLAIM. IF CLAIM IS                                                          OF
                                                                                          (See Instructions Above.)                                                                       SUBJECT TO SETOFF, SO STATE                                                              CLAIM
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                                                                     ACCOUNT NO. 0166 112364 06 8                                                                         9/2006 Utility
                                                                     Adelphia
                                                                     PO Box 371449
                                                                     Pittsburgh, PA 15250

                                                                                                                                                                                                                                                                                     327.74
                                                                     ACCOUNT NO. 01618901-02                                                                              1/2009 Collection
                                                                     AFNI
                                                                     POB 3427
                                                                     Bloomington, IL 61702

                                                                                                                                                                                                                                                                                     395.77
                                                                     ACCOUNT NO. 4792                                                                                     11/2008 Collection
                                                                     Allied Interstate
                                                                     300 Corperate Exchange Drive
                                                                     Columbus, OH 43231

                                                                                                                                                                                                                                                                                     390.00
                                                                     ACCOUNT NO.                                                                                          8/2008 Towing
                                                                     Allmor Towing
                                                                     467 E. Pittsburgh McKeesport Blvd
                                                                     North Versailles, PA 15137

                                                                                                                                                                                                                                                                                     125.00
                                                                                                                                                                                                                                           Subtotal
                                                                          12 continuation sheets attached                                                                                                                      (Total of this page) $                              1,238.51
                                                                                                                                                                                                                                              Total
                                                                                                                                                                                 (Use only on last page of the completed Schedule F. Report also on
                                                                                                                                                                                     the Summary of Schedules and, if applicable, on the Statistical
                                                                                                                                                                                                  Summary of Certain Liabilities and Related Data.) $
                                                                               Case
                                                                     B6F (Official      14-24984-GLT
                                                                                   Form 6F) (12/07) - Cont.          Doc 1           Filed 12/26/14 Entered 12/26/14 19:20:38                                                            Desc Main
                                                                                                                                    Document      Page 10 of 30
                                                                     IN RE Watkins, Karen D.                                                                                                                      Case No.
                                                                                                                             Debtor(s)                                                                                                                  (If known)

                                                                                          SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                                                 (Continuation Sheet)




                                                                                                                                                HUSBAND, WIFE, JOINT,
                                                                                                                                                   OR COMMUNITY




                                                                                                                                                                                                                                                        UNLIQUIDATED
                                                                                                                                                                                                                                           CONTINGENT
                                                                                                                                     CODEBTOR




                                                                                                                                                                                                                                                                       DISPUTED
                                                                                  CREDITOR'S NAME, MAILING ADDRESS                                                                      DATE CLAIM WAS INCURRED AND                                                               AMOUNT
                                                                              INCLUDING ZIP CODE, AND ACCOUNT NUMBER.                                                                 CONSIDERATION FOR CLAIM. IF CLAIM IS                                                          OF
                                                                                         (See Instructions Above.)                                                                        SUBJECT TO SETOFF, SO STATE                                                              CLAIM




                                                                     ACCOUNT NO. 918 055 484                                                                            5/2008 Installment
                                                                     Allstate Property And Casualty Co.
                                                                     PO Box 3589
                                                                     Akron, OH 44309

                                                                                                                                                                                                                                                                                     308.45
                                                                     ACCOUNT NO. 70495                                                                                  4/2001 Revolving
                                                                     Blair Corporation
                                                                     220 Hickery Street
                                                                     Warren, PA 16366
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                                                                                                                                                                                                                                                                                     112.00
                                                                     ACCOUNT NO. 8718037743                                                                             4/2006 Revolving
                                                                     BMG Music Service



                                                                                                                                                                                                                                                                                      59.76
                                                                     ACCOUNT NO.                                                                                        6/2008      Ticket
                                                                     Braddock Hills Police Dept.
                                                                     1300 Brinton Road
                                                                     Braddock Hills, PA 15221

                                                                                                                                                                                                                                                                                     350.00
                                                                     ACCOUNT NO. 1326                                                                                   5/2008 Collection
                                                                     Calvery Portfolio Services, LLC
                                                                     PO Box 1017
                                                                     Hawthorn, NY 1053

                                                                                                                                                                                                                                                                                   3,174.00
                                                                     ACCOUNT NO.                                                                                        4/2008 Library Fines
                                                                     Carnegie Melon University Library
                                                                     5000 Forbes Avenue
                                                                     Pittsburgh, PA 15213-3890

                                                                                                                                                                                                                                                                                     300.00
                                                                     ACCOUNT NO.                                                                                        5/2008 Loan
                                                                     Cashnet USA
                                                                     200 West Jackson Street
                                                                     Suite 1400
                                                                     Chicago, IL 60606
                                                                                                                                                                                                                                                                                     250.00
                                                                     Sheet no.       1 of      12 continuation sheets attached to                                                                                                          Subtotal
                                                                     Schedule of Creditors Holding Unsecured Nonpriority Claims                                                                                                (Total of this page) $                              4,554.21
                                                                                                                                                                                                                                              Total
                                                                                                                                                                                 (Use only on last page of the completed Schedule F. Report also on
                                                                                                                                                                                     the Summary of Schedules, and if applicable, on the Statistical
                                                                                                                                                                                                  Summary of Certain Liabilities and Related Data.) $
                                                                               Case
                                                                     B6F (Official      14-24984-GLT
                                                                                   Form 6F) (12/07) - Cont.          Doc 1           Filed 12/26/14 Entered 12/26/14 19:20:38                                                          Desc Main
                                                                                                                                    Document      Page 11 of 30
                                                                     IN RE Watkins, Karen D.                                                                                                                    Case No.
                                                                                                                             Debtor(s)                                                                                                                (If known)

                                                                                          SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                                                 (Continuation Sheet)




                                                                                                                                                HUSBAND, WIFE, JOINT,
                                                                                                                                                   OR COMMUNITY




                                                                                                                                                                                                                                                      UNLIQUIDATED
                                                                                                                                                                                                                                         CONTINGENT
                                                                                                                                     CODEBTOR




                                                                                                                                                                                                                                                                     DISPUTED
                                                                                  CREDITOR'S NAME, MAILING ADDRESS                                                                    DATE CLAIM WAS INCURRED AND                                                               AMOUNT
                                                                              INCLUDING ZIP CODE, AND ACCOUNT NUMBER.                                                               CONSIDERATION FOR CLAIM. IF CLAIM IS                                                          OF
                                                                                         (See Instructions Above.)                                                                      SUBJECT TO SETOFF, SO STATE                                                              CLAIM




                                                                     ACCOUNT NO. 4082029                                                                                3/2009 Utility
                                                                     Cavalier
                                                                     3300 North Pace Boulevard
                                                                     Pensacola, FL 32505-5148

                                                                                                                                                                                                                                                                                   265.22
                                                                     ACCOUNT NO. 24 082544842                                                                           7/2008 Collection
                                                                     Cbcs 24
                                                                     PO Box 164059
                                                                     Columbus, OH 43216
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                                                                                                                                                                                                                                                                                   413.35
                                                                     ACCOUNT NO. 1685835                                                                                4/2008 Education
                                                                     CitiBank NA
                                                                     701 East 60th Street North
                                                                     Sioux Falls, SD 57104

                                                                                                                                                                                                                                                                                 1,380.00
                                                                     ACCOUNT NO. 1685835                                                                                1/2008 Education
                                                                     CitiBank NA
                                                                     701 East 60th Street North
                                                                     Sioux Falls, SD 57104

                                                                                                                                                                                                                                                                                 1,168.00
                                                                     ACCOUNT NO. 1685835                                                                                6/2008 Education
                                                                     CitiBank NA
                                                                     701 East 60th Street North
                                                                     Sioux Falls, SD 57104

                                                                                                                                                                                                                                                                                 2,287.00
                                                                     ACCOUNT NO. 1685835                                                                                6/2008 Education
                                                                     CitiBank NA
                                                                     701 East 60th Street North
                                                                     Sioux Falls, SD 57104

                                                                                                                                                                                                                                                                                 2,332.00
                                                                     ACCOUNT NO. 45964983                                                                               9/2009 Collection -Goodwill Industries
                                                                     Claims Accounting
                                                                     PO Box30272
                                                                     Tampa, FL 33630

                                                                                                                                                                                                                                                                                    71.40
                                                                     Sheet no.       2 of      12 continuation sheets attached to                                                                                                        Subtotal
                                                                     Schedule of Creditors Holding Unsecured Nonpriority Claims                                                                                              (Total of this page) $                              7,916.97
                                                                                                                                                                                                                                            Total
                                                                                                                                                                               (Use only on last page of the completed Schedule F. Report also on
                                                                                                                                                                                   the Summary of Schedules, and if applicable, on the Statistical
                                                                                                                                                                                                Summary of Certain Liabilities and Related Data.) $
                                                                               Case
                                                                     B6F (Official      14-24984-GLT
                                                                                   Form 6F) (12/07) - Cont.          Doc 1           Filed 12/26/14 Entered 12/26/14 19:20:38                                                          Desc Main
                                                                                                                                    Document      Page 12 of 30
                                                                     IN RE Watkins, Karen D.                                                                                                                    Case No.
                                                                                                                             Debtor(s)                                                                                                                (If known)

                                                                                          SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                                                 (Continuation Sheet)




                                                                                                                                                HUSBAND, WIFE, JOINT,
                                                                                                                                                   OR COMMUNITY




                                                                                                                                                                                                                                                      UNLIQUIDATED
                                                                                                                                                                                                                                         CONTINGENT
                                                                                                                                     CODEBTOR




                                                                                                                                                                                                                                                                     DISPUTED
                                                                                  CREDITOR'S NAME, MAILING ADDRESS                                                                    DATE CLAIM WAS INCURRED AND                                                               AMOUNT
                                                                              INCLUDING ZIP CODE, AND ACCOUNT NUMBER.                                                               CONSIDERATION FOR CLAIM. IF CLAIM IS                                                          OF
                                                                                         (See Instructions Above.)                                                                      SUBJECT TO SETOFF, SO STATE                                                              CLAIM




                                                                     ACCOUNT NO. 757630                                                                                 12/2005 Collection - Value Motors
                                                                     Coastal Credit
                                                                     PO Box 697
                                                                     Greensburgh, PA 15601

                                                                                                                                                                                                                                                                                 4,101.18
                                                                     ACCOUNT NO. 8993 20 615 0059367                                                                    2/2008 Utility
                                                                     Comcast
                                                                     300 Corliss Street
                                                                     Pittsburgh, PA 15220
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                                                                                                                                                                                                                                                                                   444.17
                                                                     ACCOUNT NO. 2307206000018324                                                                       7/2006 HSBC CollectionTaxpayers Financial
                                                                     Corporate Recovery Services                                                                        Services
                                                                     PO Box 32995
                                                                     Phoenix, AZ 85064

                                                                                                                                                                                                                                                                                   392.68
                                                                     ACCOUNT NO. 07016827634                                                                            10/2006 Collection - Hollywood video
                                                                     Credit Collection Services
                                                                     2 Wells Avenue
                                                                     Newton, MA 02459

                                                                                                                                                                                                                                                                                   179.97
                                                                     ACCOUNT NO.                                                                                        8/2010 CREDIT CARD
                                                                     CREDIT ONE BANK
                                                                     P.O. Box 98873
                                                                     LAS VEGAS, NV 89193-8873

                                                                                                                                                                                                                                                                                 1,052.00
                                                                     ACCOUNT NO. 169                                                                                    12/2007 Collection
                                                                     Credit Solutions Corp.
                                                                     9573 Chesapeake Drive
                                                                     San Diego, CA 92123

                                                                                                                                                                                                                                                                                   462.00
                                                                     ACCOUNT NO. MT416676                                                                               7/2007 Collection
                                                                     Credit Solutions LLC
                                                                     PO Box 605
                                                                     Metairie, LA 70004

                                                                                                                                                                                                                                                                                 3,509.42
                                                                     Sheet no.       3 of      12 continuation sheets attached to                                                                                                        Subtotal
                                                                     Schedule of Creditors Holding Unsecured Nonpriority Claims                                                                                              (Total of this page) $                             10,141.42
                                                                                                                                                                                                                                            Total
                                                                                                                                                                               (Use only on last page of the completed Schedule F. Report also on
                                                                                                                                                                                   the Summary of Schedules, and if applicable, on the Statistical
                                                                                                                                                                                                Summary of Certain Liabilities and Related Data.) $
                                                                               Case
                                                                     B6F (Official      14-24984-GLT
                                                                                   Form 6F) (12/07) - Cont.          Doc 1           Filed 12/26/14 Entered 12/26/14 19:20:38                                                          Desc Main
                                                                                                                                    Document      Page 13 of 30
                                                                     IN RE Watkins, Karen D.                                                                                                                    Case No.
                                                                                                                             Debtor(s)                                                                                                                (If known)

                                                                                          SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                                                 (Continuation Sheet)




                                                                                                                                                HUSBAND, WIFE, JOINT,
                                                                                                                                                   OR COMMUNITY




                                                                                                                                                                                                                                                      UNLIQUIDATED
                                                                                                                                                                                                                                         CONTINGENT
                                                                                                                                     CODEBTOR




                                                                                                                                                                                                                                                                     DISPUTED
                                                                                  CREDITOR'S NAME, MAILING ADDRESS                                                                    DATE CLAIM WAS INCURRED AND                                                               AMOUNT
                                                                              INCLUDING ZIP CODE, AND ACCOUNT NUMBER.                                                               CONSIDERATION FOR CLAIM. IF CLAIM IS                                                          OF
                                                                                         (See Instructions Above.)                                                                      SUBJECT TO SETOFF, SO STATE                                                              CLAIM




                                                                     ACCOUNT NO. 4031-1710-0063-4737                                                                    6/2008 Collection - Providian National Bank
                                                                     Dekalb County Sollutions
                                                                     PO Box 447
                                                                     Sycamore, IL 60178

                                                                                                                                                                                                                                                                                 3,787.90
                                                                     ACCOUNT NO. 3556                                                                                   Unemployment Compensation Overpayment
                                                                     Department Of Labor & Workforce Developm
                                                                     7th Floor Labor & Industry Bld.
                                                                     651 Boas Street
                                                                     Harrisburg, PA 17121
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                                                                                                                                                                                                                                                                                 6,500.00
                                                                     ACCOUNT NO. 3556                                                                                   3/31/06 Unemployment Compensation
                                                                     Department Of Labor & Workforce Developm                                                           Overpayment
                                                                     7th Floor Labor & Industry Bld.
                                                                     651 Boas Street
                                                                     Harrisburg, PA 17121
                                                                                                                                                                                                                                                                                 1,016.00
                                                                     ACCOUNT NO. 8255 9097 0561 1405                                                                    DISH / CABLE
                                                                     Dish Network
                                                                     P.O. Box 94063
                                                                     Palatine, IL 60094

                                                                                                                                                                                                                                                                                   302.63
                                                                     ACCOUNT NO. 06625753814O                                                                           4/2006 Collection - Fun Charge
                                                                     E R Solutions
                                                                     800 SW 39th Street
                                                                     Renton, WA 98057

                                                                                                                                                                                                                                                                                   170.51
                                                                     ACCOUNT NO. CV-691-08                                                                              12/2008   Lawsuit
                                                                     East Allegheny Schood District
                                                                     C/O Litigation Dept.
                                                                     546 Wendell Road
                                                                     Irwin, PA 15642
                                                                                                                                                                                                                                                                                 2,910.37
                                                                     ACCOUNT NO.                                                                                        5/2008 Ticket
                                                                     East Pittsburgh Police Department
                                                                     811 Linden Avenue
                                                                     East Pittsburgh, PA 15112

                                                                                                                                                                                                                                                                                   325.00
                                                                     Sheet no.       4 of      12 continuation sheets attached to                                                                                                        Subtotal
                                                                     Schedule of Creditors Holding Unsecured Nonpriority Claims                                                                                              (Total of this page) $                             15,012.41
                                                                                                                                                                                                                                            Total
                                                                                                                                                                               (Use only on last page of the completed Schedule F. Report also on
                                                                                                                                                                                   the Summary of Schedules, and if applicable, on the Statistical
                                                                                                                                                                                                Summary of Certain Liabilities and Related Data.) $
                                                                               Case
                                                                     B6F (Official      14-24984-GLT
                                                                                   Form 6F) (12/07) - Cont.          Doc 1           Filed 12/26/14 Entered 12/26/14 19:20:38                                                         Desc Main
                                                                                                                                    Document      Page 14 of 30
                                                                     IN RE Watkins, Karen D.                                                                                                                   Case No.
                                                                                                                             Debtor(s)                                                                                                               (If known)

                                                                                          SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                                                 (Continuation Sheet)




                                                                                                                                                HUSBAND, WIFE, JOINT,
                                                                                                                                                   OR COMMUNITY




                                                                                                                                                                                                                                                     UNLIQUIDATED
                                                                                                                                                                                                                                        CONTINGENT
                                                                                                                                     CODEBTOR




                                                                                                                                                                                                                                                                    DISPUTED
                                                                                  CREDITOR'S NAME, MAILING ADDRESS                                                                   DATE CLAIM WAS INCURRED AND                                                               AMOUNT
                                                                              INCLUDING ZIP CODE, AND ACCOUNT NUMBER.                                                              CONSIDERATION FOR CLAIM. IF CLAIM IS                                                          OF
                                                                                         (See Instructions Above.)                                                                     SUBJECT TO SETOFF, SO STATE                                                              CLAIM




                                                                     ACCOUNT NO. 5026....                                                                               AUTO LOAN 5/2013
                                                                     F N B CONS DISC CO
                                                                     4313 WALNUT ST STE 29
                                                                     MCKEESPORT, PA 15132

                                                                                                                                                                                                                                                                                4,923.00
                                                                     ACCOUNT NO. 517800631592....                                                                       2/2012 CREDIT CARD
                                                                     First Premier Bank
                                                                     601 S MINNESOTA AVE
                                                                     Sioux Falls, SD 57107-5519
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                                                                                                                                                                                                                                                                                  482.00
                                                                     ACCOUNT NO. 517800639813....                                                                       4/2013 CREDIT CARD
                                                                     First Premier Bank
                                                                     601 S MINNESOTA AVE
                                                                     Sioux Falls, SD 57107-5519

                                                                                                                                                                                                                                                                                  559.00
                                                                     ACCOUNT NO.                                                                                        10/2006
                                                                     FMS
                                                                     P.O. Box 707600
                                                                     Tulsa, OK 74170

                                                                                                                                                                                                                                                                                   65.11
                                                                     ACCOUNT NO. 900103                                                                                 12/2006 Revolving
                                                                     Full Service Network
                                                                     U.S. Steel Tower
                                                                     600 Grant Street
                                                                     Pittsburgh, PA 15219
                                                                                                                                                                                                                                                                                  486.00
                                                                     ACCOUNT NO. 1226200857432517                                                                       7/2008 Collection
                                                                     Glacial Star Group
                                                                     150 Motor Parkway
                                                                     Hauppauge, NY 11788

                                                                                                                                                                                                                                                                                  511.22
                                                                     ACCOUNT NO. 230710600098                                                                           2/2006 Collection
                                                                     HSBC/TAX
                                                                     90 Christiana Road
                                                                     New Castle, DE 19720

                                                                                                                                                                                                                                                                                  214.00
                                                                     Sheet no.       5 of      12 continuation sheets attached to                                                                                                       Subtotal
                                                                     Schedule of Creditors Holding Unsecured Nonpriority Claims                                                                                             (Total of this page) $                              7,240.33
                                                                                                                                                                                                                                           Total
                                                                                                                                                                              (Use only on last page of the completed Schedule F. Report also on
                                                                                                                                                                                  the Summary of Schedules, and if applicable, on the Statistical
                                                                                                                                                                                               Summary of Certain Liabilities and Related Data.) $
                                                                               Case
                                                                     B6F (Official      14-24984-GLT
                                                                                   Form 6F) (12/07) - Cont.          Doc 1           Filed 12/26/14 Entered 12/26/14 19:20:38                                                          Desc Main
                                                                                                                                    Document      Page 15 of 30
                                                                     IN RE Watkins, Karen D.                                                                                                                    Case No.
                                                                                                                             Debtor(s)                                                                                                                (If known)

                                                                                          SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                                                 (Continuation Sheet)




                                                                                                                                                HUSBAND, WIFE, JOINT,
                                                                                                                                                   OR COMMUNITY




                                                                                                                                                                                                                                                      UNLIQUIDATED
                                                                                                                                                                                                                                         CONTINGENT
                                                                                                                                     CODEBTOR




                                                                                                                                                                                                                                                                     DISPUTED
                                                                                  CREDITOR'S NAME, MAILING ADDRESS                                                                    DATE CLAIM WAS INCURRED AND                                                               AMOUNT
                                                                              INCLUDING ZIP CODE, AND ACCOUNT NUMBER.                                                               CONSIDERATION FOR CLAIM. IF CLAIM IS                                                          OF
                                                                                         (See Instructions Above.)                                                                      SUBJECT TO SETOFF, SO STATE                                                              CLAIM




                                                                     ACCOUNT NO.                                                                                        5/2008 Loan
                                                                     Huntington Bank
                                                                     P.O. Box 894424
                                                                     Cleveland, OH 44101

                                                                                                                                                                                                                                                                                   450.00
                                                                     ACCOUNT NO. X0527269-SW-ST278-BAT                                                                  8/2008 Collection/Sprint
                                                                     I. C. Systems Inc.
                                                                     Po Box 64378
                                                                     St. Paul, MN 55164-0378
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                                                                                                                                                                                                                                                                                   463.94
                                                                     ACCOUNT NO. 266318                                                                                 10/2008 Collection
                                                                     Jefferson Capital Systems, LLC
                                                                     16 Mcleland Road
                                                                     St. Cloud, MN 56303

                                                                                                                                                                                                                                                                                   544.00
                                                                     ACCOUNT NO. 261071                                                                                 11/2007 Collection
                                                                     Jefferson Capital Systems, LLC
                                                                     16 Mcleland Road
                                                                     St. Cloud, MN 56303

                                                                                                                                                                                                                                                                                   729.00
                                                                     ACCOUNT NO. 8634569                                                                                6/08 Tuition
                                                                     Kaplan University
                                                                     550 West Van Buren
                                                                     Chicago, IL 60607

                                                                                                                                                                                                                                                                                 4,619.68
                                                                     ACCOUNT NO. R133821                                                                                7/1/2014 REAL ESTATE TAX
                                                                     KEYSTONE COLLECTIONS GROUP
                                                                     PO BOX 499
                                                                     IRWIN, PA 15642

                                                                                                                                                                                                                                                                                   241.22
                                                                     ACCOUNT NO. 022154446                                                                              8/2006 Collection - Household Renaissance
                                                                     Leading Edge Recovery Solutions
                                                                     PO Box 129
                                                                     Linden, MI 48451-0129

                                                                                                                                                                                                                                                                                 1,289.69
                                                                     Sheet no.       6 of      12 continuation sheets attached to                                                                                                        Subtotal
                                                                     Schedule of Creditors Holding Unsecured Nonpriority Claims                                                                                              (Total of this page) $                              8,337.53
                                                                                                                                                                                                                                            Total
                                                                                                                                                                               (Use only on last page of the completed Schedule F. Report also on
                                                                                                                                                                                   the Summary of Schedules, and if applicable, on the Statistical
                                                                                                                                                                                                Summary of Certain Liabilities and Related Data.) $
                                                                               Case
                                                                     B6F (Official      14-24984-GLT
                                                                                   Form 6F) (12/07) - Cont.          Doc 1           Filed 12/26/14 Entered 12/26/14 19:20:38                                                          Desc Main
                                                                                                                                    Document      Page 16 of 30
                                                                     IN RE Watkins, Karen D.                                                                                                                    Case No.
                                                                                                                             Debtor(s)                                                                                                                (If known)

                                                                                          SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                                                 (Continuation Sheet)




                                                                                                                                                HUSBAND, WIFE, JOINT,
                                                                                                                                                   OR COMMUNITY




                                                                                                                                                                                                                                                      UNLIQUIDATED
                                                                                                                                                                                                                                         CONTINGENT
                                                                                                                                     CODEBTOR




                                                                                                                                                                                                                                                                     DISPUTED
                                                                                  CREDITOR'S NAME, MAILING ADDRESS                                                                    DATE CLAIM WAS INCURRED AND                                                               AMOUNT
                                                                              INCLUDING ZIP CODE, AND ACCOUNT NUMBER.                                                               CONSIDERATION FOR CLAIM. IF CLAIM IS                                                          OF
                                                                                         (See Instructions Above.)                                                                      SUBJECT TO SETOFF, SO STATE                                                              CLAIM




                                                                     ACCOUNT NO. 48270                                                                                  5/2008 Revolving
                                                                     Loan Shop
                                                                     2207 Concord Pike
                                                                     Wilmington, DE 19803

                                                                                                                                                                                                                                                                                   480.00
                                                                     ACCOUNT NO. 15221trcac90001                                                                        4/2007 Line of Credit
                                                                     Ltd Commodities, LLC
                                                                     2800 Lakeside Drive
                                                                     Bannockburn, IL 60015
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                                                                                                                                                                                                                                                                                   841.45
                                                                     ACCOUNT NO.                                                                                                Tuition
                                                                     Mellon University



                                                                                                                                                                                                                                                                                   250.00
                                                                     ACCOUNT NO. 852831                                                                                 8/2008 Collection
                                                                     Midland Credit Management Inc.
                                                                     Department 8870
                                                                     Los Angeles, CA 90084-8870

                                                                                                                                                                                                                                                                                 1,503.00
                                                                     ACCOUNT NO. 8515113072                                                                             7/2008 Collection - Value Motors
                                                                     Midland Credit Management Inc.
                                                                     Department 8870
                                                                     Los Angeles, CA 90084-8870

                                                                                                                                                                                                                                                                                   777.58
                                                                     ACCOUNT NO.                                                                                        2313 Crestas Avenue N. Versailles, PA 15137
                                                                     Mortgage Holder
                                                                     2313 Crestas Avenue
                                                                     North Versailles, PA 15137

                                                                                                                                                                                                                                                                                26,000.00
                                                                     ACCOUNT NO. 1140029358478                                                                          8/2008 Collection - Equitable Gas
                                                                     National Recovery Agency
                                                                     4201 Crums Mill Road
                                                                     Harrisburg, PA 17112

                                                                                                                                                                                                                                                                                 2,849.25
                                                                     Sheet no.       7 of      12 continuation sheets attached to                                                                                                        Subtotal
                                                                     Schedule of Creditors Holding Unsecured Nonpriority Claims                                                                                              (Total of this page) $                             32,701.28
                                                                                                                                                                                                                                            Total
                                                                                                                                                                               (Use only on last page of the completed Schedule F. Report also on
                                                                                                                                                                                   the Summary of Schedules, and if applicable, on the Statistical
                                                                                                                                                                                                Summary of Certain Liabilities and Related Data.) $
                                                                               Case
                                                                     B6F (Official      14-24984-GLT
                                                                                   Form 6F) (12/07) - Cont.          Doc 1           Filed 12/26/14 Entered 12/26/14 19:20:38                                                          Desc Main
                                                                                                                                    Document      Page 17 of 30
                                                                     IN RE Watkins, Karen D.                                                                                                                    Case No.
                                                                                                                             Debtor(s)                                                                                                                (If known)

                                                                                          SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                                                 (Continuation Sheet)




                                                                                                                                                HUSBAND, WIFE, JOINT,
                                                                                                                                                   OR COMMUNITY




                                                                                                                                                                                                                                                      UNLIQUIDATED
                                                                                                                                                                                                                                         CONTINGENT
                                                                                                                                     CODEBTOR




                                                                                                                                                                                                                                                                     DISPUTED
                                                                                  CREDITOR'S NAME, MAILING ADDRESS                                                                    DATE CLAIM WAS INCURRED AND                                                               AMOUNT
                                                                              INCLUDING ZIP CODE, AND ACCOUNT NUMBER.                                                               CONSIDERATION FOR CLAIM. IF CLAIM IS                                                          OF
                                                                                         (See Instructions Above.)                                                                      SUBJECT TO SETOFF, SO STATE                                                              CLAIM




                                                                     ACCOUNT NO. 9617404232100022008....                                                                7/2008 EDUCATION LOAN
                                                                     NAVIENT
                                                                     PO BOX 9500
                                                                     WILKES BARRE, PA 18773

                                                                                                                                                                                                                                                                                 2,849.00
                                                                     ACCOUNT NO. 9617404232100032008....                                                                5/2008 EDUCATION LOAN
                                                                     NAVIENT
                                                                     PO BOX 9500
                                                                     WILKES BARRE, PA 18773
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                                                                                                                                                                                                                                                                                 1,935.00
                                                                     ACCOUNT NO. 9617404232100042008....                                                                7/2008 EDUCATION LOAN
                                                                     NAVIENT
                                                                     PO BOX 9500
                                                                     WILKES BARRE, PA 18773

                                                                                                                                                                                                                                                                                 3,253.00
                                                                     ACCOUNT NO. 1010172909                                                                             1/2009 Collectio - RJM Aquisitions
                                                                     NCO Financial Systems, Inc
                                                                     PO Box 13574
                                                                     Philadelphia, PA 19101

                                                                                                                                                                                                                                                                                   225.66
                                                                     ACCOUNT NO.                                                                                        4/2008 Ticket
                                                                     North Braddock Police Department
                                                                     600 Anderson Street
                                                                     North Braddock, PA 15104

                                                                                                                                                                                                                                                                                   260.00
                                                                     ACCOUNT NO. GR7026635697                                                                           8/2006 Collection
                                                                     OSI Collection Servives Inc.
                                                                     PO Box 959
                                                                     Brookfield, WI 53008

                                                                                                                                                                                                                                                                                    39.35
                                                                     ACCOUNT NO. 2749                                                                                   10/2006 Collection
                                                                     Oxford Collection Service
                                                                     135 Maxess Road
                                                                     Melville, NY 11747

                                                                                                                                                                                                                                                                                 2,923.00
                                                                     Sheet no.       8 of      12 continuation sheets attached to                                                                                                        Subtotal
                                                                     Schedule of Creditors Holding Unsecured Nonpriority Claims                                                                                              (Total of this page) $                             11,485.01
                                                                                                                                                                                                                                            Total
                                                                                                                                                                               (Use only on last page of the completed Schedule F. Report also on
                                                                                                                                                                                   the Summary of Schedules, and if applicable, on the Statistical
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                                                                     B6F (Official      14-24984-GLT
                                                                                   Form 6F) (12/07) - Cont.          Doc 1           Filed 12/26/14 Entered 12/26/14 19:20:38                                                         Desc Main
                                                                                                                                    Document      Page 18 of 30
                                                                     IN RE Watkins, Karen D.                                                                                                                   Case No.
                                                                                                                             Debtor(s)                                                                                                               (If known)

                                                                                          SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                                                 (Continuation Sheet)




                                                                                                                                                HUSBAND, WIFE, JOINT,
                                                                                                                                                   OR COMMUNITY




                                                                                                                                                                                                                                                     UNLIQUIDATED
                                                                                                                                                                                                                                        CONTINGENT
                                                                                                                                     CODEBTOR




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                                                                                  CREDITOR'S NAME, MAILING ADDRESS                                                                   DATE CLAIM WAS INCURRED AND                                                               AMOUNT
                                                                              INCLUDING ZIP CODE, AND ACCOUNT NUMBER.                                                              CONSIDERATION FOR CLAIM. IF CLAIM IS                                                          OF
                                                                                         (See Instructions Above.)                                                                     SUBJECT TO SETOFF, SO STATE                                                              CLAIM




                                                                     ACCOUNT NO. TR-2311-14                                                                             CITATION/SUMMONS METER VIOL. & PENALTIES
                                                                     PA CITATION/SUMMONS                                                                                7/2014
                                                                     40 N PENNSYLVANIA AVE
                                                                     GREENSBURG, PA 15601

                                                                                                                                                                                                                                                                                   62.50
                                                                     ACCOUNT NO. 0058*305                                                                               1/2009 Collection -Check Into Cash
                                                                     Paragon Way Inc.
                                                                     2101 West Ben White Blvd.
                                                                     Austin, TX 78704-7516
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                                                                                                                                                                                                                                                                                  230.00
                                                                     ACCOUNT NO. v22729060005                                                                           5/2008 Collection
                                                                     Penn Credit Corporation
                                                                     PO Box 988
                                                                     Harrisburg, PA 17108

                                                                                                                                                                                                                                                                                  732.78
                                                                     ACCOUNT NO. v2277036000                                                                            5/2008 Collection
                                                                     Penn Credit Corporation
                                                                     PO Box 988
                                                                     Harrisburg, PA 17108

                                                                                                                                                                                                                                                                                  380.88
                                                                     ACCOUNT NO. V22847820009                                                                           5/2008 Collection
                                                                     Penn Credit Corporation
                                                                     PO Box 988
                                                                     Harrisburg, PA 17108

                                                                                                                                                                                                                                                                                  372.90
                                                                     ACCOUNT NO. OK07....                                                                               12/2013 VERIZON WIRELESS/ COLLECTION
                                                                     PINNACLE CREDIT SERVICE
                                                                     7900 HIGHWAY 7 #100
                                                                     SAINT LOUIS PARK, MN 55426

                                                                                                                                                                                                                                                                                  958.00
                                                                     ACCOUNT NO. 405731001145                                                                           2/2007 Revolving
                                                                     Plains Commerce Bank
                                                                     PO Box 88020
                                                                     Sioux Falls, SD 57109

                                                                                                                                                                                                                                                                                  322.00
                                                                     Sheet no.       9 of      12 continuation sheets attached to                                                                                                       Subtotal
                                                                     Schedule of Creditors Holding Unsecured Nonpriority Claims                                                                                             (Total of this page) $                              3,059.06
                                                                                                                                                                                                                                           Total
                                                                                                                                                                              (Use only on last page of the completed Schedule F. Report also on
                                                                                                                                                                                  the Summary of Schedules, and if applicable, on the Statistical
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                                                                     B6F (Official      14-24984-GLT
                                                                                   Form 6F) (12/07) - Cont.          Doc 1           Filed 12/26/14 Entered 12/26/14 19:20:38                                                         Desc Main
                                                                                                                                    Document      Page 19 of 30
                                                                     IN RE Watkins, Karen D.                                                                                                                   Case No.
                                                                                                                             Debtor(s)                                                                                                               (If known)

                                                                                          SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                                                 (Continuation Sheet)




                                                                                                                                                HUSBAND, WIFE, JOINT,
                                                                                                                                                   OR COMMUNITY




                                                                                                                                                                                                                                                     UNLIQUIDATED
                                                                                                                                                                                                                                        CONTINGENT
                                                                                                                                     CODEBTOR




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                                                                                  CREDITOR'S NAME, MAILING ADDRESS                                                                    DATE CLAIM WAS INCURRED AND                                                              AMOUNT
                                                                              INCLUDING ZIP CODE, AND ACCOUNT NUMBER.                                                               CONSIDERATION FOR CLAIM. IF CLAIM IS                                                         OF
                                                                                         (See Instructions Above.)                                                                      SUBJECT TO SETOFF, SO STATE                                                             CLAIM




                                                                     ACCOUNT NO. 650078000433                                                                           8/2006 Collection
                                                                     RIO Services
                                                                     PO Box 2488
                                                                     Reston, VA 20195-0488

                                                                                                                                                                                                                                                                                   80.86
                                                                     ACCOUNT NO. 620R481                                                                                11/2006 Collection
                                                                     RJM Acqisition LLC
                                                                     575 Underhill Blvd.
                                                                     Syosset, NY 11719
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                                                                                                                                                                                                                                                                                  225.00
                                                                     ACCOUNT NO.
                                                                     Royal Furniture
                                                                     6250 Winchester Road
                                                                     Memphis, TN 38115

                                                                                                                                                                                                                                                                                  300.00
                                                                     ACCOUNT NO.                                                                                        Insurance
                                                                     Safeauto
                                                                     PO Box 182208
                                                                     Columbus, OH 43218-2208

                                                                                                                                                                                                                                                                                   60.00
                                                                     ACCOUNT NO. 354                                                                                    12/2002 Returned Check
                                                                     Security Check LLC
                                                                     2612 Jackson Avenue W
                                                                     Oxford, MS 38655

                                                                                                                                                                                                                                                                                   55.00
                                                                     ACCOUNT NO. 348                                                                                    11/2002 Returned Check
                                                                     Security Check LLC
                                                                     2612 Jackson Avenue W
                                                                     Oxford, MS 38655

                                                                                                                                                                                                                                                                                   51.00
                                                                     ACCOUNT NO. 279                                                                                    8/2002 Returned Check
                                                                     Security Check LLC
                                                                     2612 Jackson Avenue W
                                                                     Oxford, MS 38655

                                                                                                                                                                                                                                                                                   42.00
                                                                     Sheet no.     10 of       12 continuation sheets attached to                                                                                                       Subtotal
                                                                     Schedule of Creditors Holding Unsecured Nonpriority Claims                                                                                             (Total of this page) $                                813.86
                                                                                                                                                                                                                                           Total
                                                                                                                                                                              (Use only on last page of the completed Schedule F. Report also on
                                                                                                                                                                                  the Summary of Schedules, and if applicable, on the Statistical
                                                                                                                                                                                               Summary of Certain Liabilities and Related Data.) $
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                                                                     B6F (Official      14-24984-GLT
                                                                                   Form 6F) (12/07) - Cont.          Doc 1           Filed 12/26/14 Entered 12/26/14 19:20:38                                                          Desc Main
                                                                                                                                    Document      Page 20 of 30
                                                                     IN RE Watkins, Karen D.                                                                                                                    Case No.
                                                                                                                             Debtor(s)                                                                                                                (If known)

                                                                                          SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                                                 (Continuation Sheet)




                                                                                                                                                HUSBAND, WIFE, JOINT,
                                                                                                                                                   OR COMMUNITY




                                                                                                                                                                                                                                                      UNLIQUIDATED
                                                                                                                                                                                                                                         CONTINGENT
                                                                                                                                     CODEBTOR




                                                                                                                                                                                                                                                                     DISPUTED
                                                                                  CREDITOR'S NAME, MAILING ADDRESS                                                                    DATE CLAIM WAS INCURRED AND                                                               AMOUNT
                                                                              INCLUDING ZIP CODE, AND ACCOUNT NUMBER.                                                               CONSIDERATION FOR CLAIM. IF CLAIM IS                                                          OF
                                                                                         (See Instructions Above.)                                                                      SUBJECT TO SETOFF, SO STATE                                                              CLAIM




                                                                     ACCOUNT NO. 9341172141570                                                                          7/2007 Revolving
                                                                     Seventh Avenue
                                                                     1112 7th Avenue
                                                                     Monroe, WI 53666-1364

                                                                                                                                                                                                                                                                                   229.43
                                                                     ACCOUNT NO.                                                                                        7/2007 Collection-
                                                                     SKO Brenner American Inc.
                                                                     PO Box 230
                                                                     Farmington, NY 11735
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                                                                                                                                                                                                                                                                                   250.00
                                                                     ACCOUNT NO. 4128160679248                                                                          2/2008 Collection - Verizon
                                                                     Solomon And Solomon
                                                                     P.O. Box 15019
                                                                     Albany, NY 12212

                                                                                                                                                                                                                                                                                    55.65
                                                                     ACCOUNT NO. 713152304903....                                                                       7/2013 SECURED LOAN
                                                                     Springleaf Financial Services
                                                                     535 CLAIRTON BLVD STE 37
                                                                     Pleasant Hills, PA 15236

                                                                                                                                                                                                                                                                                 6,311.00
                                                                     ACCOUNT NO.
                                                                     Strayer University
                                                                     PO Box 1310
                                                                     Newington, VA 22122

                                                                                                                                                                                                                                                                                   700.00
                                                                     ACCOUNT NO. 548955511316                                                                           5/2008 Collection
                                                                     Unistates Collection Agenct LLC
                                                                     2809 Wherle Drive Ste 1
                                                                     Williamsville, NY 14221

                                                                                                                                                                                                                                                                                 1,451.00
                                                                     ACCOUNT NO. 6204815915                                                                             2/2006 Collection - Citizens Bank
                                                                     Universal Fidelity LP
                                                                     PO Box 941911
                                                                     Houston, TX 77094

                                                                                                                                                                                                                                                                                   225.66
                                                                     Sheet no.     11 of       12 continuation sheets attached to                                                                                                        Subtotal
                                                                     Schedule of Creditors Holding Unsecured Nonpriority Claims                                                                                              (Total of this page) $                              9,222.74
                                                                                                                                                                                                                                            Total
                                                                                                                                                                               (Use only on last page of the completed Schedule F. Report also on
                                                                                                                                                                                   the Summary of Schedules, and if applicable, on the Statistical
                                                                                                                                                                                                Summary of Certain Liabilities and Related Data.) $
                                                                               Case
                                                                     B6F (Official      14-24984-GLT
                                                                                   Form 6F) (12/07) - Cont.          Doc 1           Filed 12/26/14 Entered 12/26/14 19:20:38                                                        Desc Main
                                                                                                                                    Document      Page 21 of 30
                                                                     IN RE Watkins, Karen D.                                                                                                                   Case No.
                                                                                                                             Debtor(s)                                                                                                              (If known)

                                                                                          SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                                                 (Continuation Sheet)




                                                                                                                                                HUSBAND, WIFE, JOINT,
                                                                                                                                                   OR COMMUNITY




                                                                                                                                                                                                                                                    UNLIQUIDATED
                                                                                                                                                                                                                                       CONTINGENT
                                                                                                                                     CODEBTOR




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                                                                                  CREDITOR'S NAME, MAILING ADDRESS                                                                    DATE CLAIM WAS INCURRED AND                                                             AMOUNT
                                                                              INCLUDING ZIP CODE, AND ACCOUNT NUMBER.                                                               CONSIDERATION FOR CLAIM. IF CLAIM IS                                                        OF
                                                                                         (See Instructions Above.)                                                                      SUBJECT TO SETOFF, SO STATE                                                            CLAIM




                                                                     ACCOUNT NO. 05 0553 63386                                                                          INSURANCE PAYMENT
                                                                     VICTORIA FIRE & CASUALTY
                                                                     PO BOX 55126
                                                                     BOSTON, MA 02205-5126

                                                                                                                                                                                                                                                                                 376.00
                                                                     ACCOUNT NO.                                                                                        Checks
                                                                     WalMart
                                                                     7000 Marina Blvd.
                                                                     Brisbane, CA 94005
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                                                                                                                                                                                                                                                                                 650.00
                                                                     ACCOUNT NO. 4057-3100-1145-3948                                                                    5/2008 Collectio- Total Card
                                                                     Zeneth Aquisition
                                                                     170 Northpointe Parkway
                                                                     Amherst, NY 14228

                                                                                                                                                                                                                                                                                 342.42
                                                                     ACCOUNT NO. 1000060                                                                                5/2004 Collection
                                                                     Zeneth Aquisition
                                                                     170 Northpointe Parkway
                                                                     Amherst, NY 14228

                                                                                                                                                                                                                                                                                 104.00
                                                                     ACCOUNT NO. 100322                                                                                 4/2006 Collection
                                                                     Zeneth Aquisition
                                                                     170 Northpointe Parkway
                                                                     Amherst, NY 14228

                                                                                                                                                                                                                                                                                 314.00
                                                                     ACCOUNT NO.




                                                                     ACCOUNT NO.




                                                                     Sheet no.     12 of       12 continuation sheets attached to                                                                                                      Subtotal
                                                                     Schedule of Creditors Holding Unsecured Nonpriority Claims                                                                                            (Total of this page) $                              1,786.42
                                                                                                                                                                                                                                            Total
                                                                                                                                                                               (Use only on last page of the completed Schedule F. Report also on
                                                                                                                                                                                   the Summary of Schedules, and if applicable, on the Statistical
                                                                                                                                                                                                Summary of Certain Liabilities and Related Data.) $ 113,509.75
Case 14-24984-GLT   Doc 1    Filed 12/26/14 Entered 12/26/14 19:20:38   Desc Main
                            Document      Page 22 of 30




              Adelphia
              PO Box 371449
              Pittsburgh, PA       15250


              AFNI
              POB 3427
              Bloomington, IL       61702


              Allied Interstate
              300 Corperate Exchange Drive
              Columbus, OH 43231


              Allmor Towing
              467 E. Pittsburgh McKeesport Blvd
              North Versailles, PA 15137


              Allstate Property And Casualty Co.
              PO Box 3589
              Akron, OH 44309


              American General Finance
              P.O. Box 3251
              Evansville, IN 47731


              Blair Corporation
              220 Hickery Street
              Warren, PA 16366


              Braddock Hills Police Dept.
              1300 Brinton Road
              Braddock Hills, PA 15221


              Calvery Portfolio Services, LLC
              PO Box 1017
              Hawthorn, NY 1053
Case 14-24984-GLT   Doc 1    Filed 12/26/14 Entered 12/26/14 19:20:38   Desc Main
                            Document      Page 23 of 30




              Carnegie Melon University Library
              5000 Forbes Avenue
              Pittsburgh, PA 15213-3890


              Cashnet USA
              200 West Jackson Street
              Suite 1400
              Chicago, IL 60606


              Cavalier
              3300 North Pace Boulevard
              Pensacola, FL 32505-5148


              Cbcs 24
              PO Box 164059
              Columbus, OH 43216


              CitiBank NA
              701 East 60th Street North
              Sioux Falls, SD 57104


              Claims Accounting
              PO Box30272
              Tampa, FL 33630


              Coastal Credit
              PO Box 697
              Greensburgh, PA       15601


              Comcast
              300 Corliss Street
              Pittsburgh, PA 15220


              Corporate Recovery Services
              PO Box 32995
              Phoenix, AZ 85064
Case 14-24984-GLT   Doc 1    Filed 12/26/14 Entered 12/26/14 19:20:38   Desc Main
                            Document      Page 24 of 30




              Credit Collection Services
              2 Wells Avenue
              Newton, MA 02459


              CREDIT ONE BANK
              P.O. Box 98873
              LAS VEGAS, NV 89193-8873


              Credit Solutions Corp.
              9573 Chesapeake Drive
              San Diego, CA 92123


              Credit Solutions LLC
              PO Box 605
              Metairie, LA 70004


              Dekalb County Sollutions
              PO Box 447
              Sycamore, IL 60178


              Department Of Labor & Workforce Developm
              7th Floor Labor & Industry Bld.
              651 Boas Street
              Harrisburg, PA 17121


              Dish Network
              P.O. Box 94063
              Palatine, IL 60094


              E R Solutions
              800 SW 39th Street
              Renton, WA 98057
Case 14-24984-GLT   Doc 1    Filed 12/26/14 Entered 12/26/14 19:20:38   Desc Main
                            Document      Page 25 of 30




              East Allegheny Schood District
              C/O Litigation Dept.
              546 Wendell Road
              Irwin, PA 15642


              East Pittsburgh Police Department
              811 Linden Avenue
              East Pittsburgh, PA 15112


              F N B CONS DISC CO
              4313 WALNUT ST STE 29
              MCKEESPORT, PA 15132


              First Premier Bank
              601 S MINNESOTA AVE
              Sioux Falls, SD 57107-5519


              First Premier Bank
              601 S MINNESOTA AVE
              Sioux Falls, SD 57107-5519


              FMS
              P.O. Box 707600
              Tulsa, OK 74170


              Full Service Network
              U.S. Steel Tower
              600 Grant Street
              Pittsburgh, PA 15219


              Glacial Star Group
              150 Motor Parkway
              Hauppauge, NY 11788
Case 14-24984-GLT   Doc 1    Filed 12/26/14 Entered 12/26/14 19:20:38   Desc Main
                            Document      Page 26 of 30




              GM Financial
              P.O. BOX 78143
              PHOENIX, AZ 85062-8143


              HSBC/TAX
              90 Christiana Road
              New Castle, DE 19720


              Huntington Bank
              P.O. Box 894424
              Cleveland, OH 44101


              I. C. Systems Inc.
              Po Box 64378
              St. Paul, MN 55164-0378


              Jefferson Capital Systems, LLC
              16 Mcleland Road
              St. Cloud, MN 56303


              Jeffrey J. Sikirica, Trustee
              121 Northbrook Avenue
              Gibsonia, PA 15044


              Kaplan University
              550 West Van Buren
              Chicago, IL 60607


              KEYSTONE COLLECTIONS GROUP
              PO BOX 499
              IRWIN, PA 15642


              Leading Edge Recovery Solutions
              PO Box 129
              Linden, MI 48451-0129
Case 14-24984-GLT   Doc 1    Filed 12/26/14 Entered 12/26/14 19:20:38   Desc Main
                            Document      Page 27 of 30




              Loan Shop
              2207 Concord Pike
              Wilmington, DE 19803


              Ltd Commodities, LLC
              2800 Lakeside Drive
              Bannockburn, IL 60015


              MARY ANN FETSICK TAX COLLECTOR
              1401 GREENSBURG AVE STE 3
              NORTH VERSAILLES, PA 15137


              MICHAELS, LOUIIS & aSSOCIATES INC
              PO BOX 1062
              MOON TWP, PA 15108


              Midland Credit Management Inc.
              Department 8870
              Los Angeles, CA 90084-8870


              Mortgage Holder
              2313 Crestas Avenue
              North Versailles, PA         15137


              National Recovery Agency
              4201 Crums Mill Road
              Harrisburg, PA 17112


              NAVIENT
              PO BOX 9500
              WILKES BARRE, PA        18773


              NCO Financial Systems, Inc
              PO Box 13574
              Philadelphia, PA 19101
Case 14-24984-GLT   Doc 1    Filed 12/26/14 Entered 12/26/14 19:20:38   Desc Main
                            Document      Page 28 of 30




              North Braddock Police Department
              600 Anderson Street
              North Braddock, PA 15104


              OSI Collection Servives Inc.
              PO Box 959
              Brookfield, WI 53008


              Oxford Collection Service
              135 Maxess Road
              Melville, NY 11747


              PA CITATION/SUMMONS
              40 N PENNSYLVANIA AVE
              GREENSBURG, PA 15601


              Paragon Way Inc.
              2101 West Ben White Blvd.
              Austin, TX 78704-7516


              Penn Credit Corporation
              PO Box 988
              Harrisburg, PA 17108


              PINNACLE CREDIT SERVICE
              7900 HIGHWAY 7 #100
              SAINT LOUIS PARK, MN 55426


              Plains Commerce Bank
              PO Box 88020
              Sioux Falls, SD 57109


              RIO Services
              PO Box 2488
              Reston, VA 20195-0488
Case 14-24984-GLT   Doc 1    Filed 12/26/14 Entered 12/26/14 19:20:38   Desc Main
                            Document      Page 29 of 30




              RJM Acqisition LLC
              575 Underhill Blvd.
              Syosset, NY 11719


              Royal Furniture
              6250 Winchester Road
              Memphis, TN 38115


              Safeauto
              PO Box 182208
              Columbus, OH 43218-2208


              Security Check LLC
              2612 Jackson Avenue W
              Oxford, MS 38655


              Seventh Avenue
              1112 7th Avenue
              Monroe, WI 53666-1364


              SKO Brenner American Inc.
              PO Box 230
              Farmington, NY 11735


              Solomon And Solomon
              P.O. Box 15019
              Albany, NY 12212


              Springleaf Financial Services
              535 CLAIRTON BLVD STE 37
              Pleasant Hills, PA 15236


              Strayer University
              PO Box 1310
              Newington, VA 22122
Case 14-24984-GLT   Doc 1    Filed 12/26/14 Entered 12/26/14 19:20:38   Desc Main
                            Document      Page 30 of 30




              Unistates Collection Agenct LLC
              2809 Wherle Drive Ste 1
              Williamsville, NY 14221


              Universal Fidelity LP
              PO Box 941911
              Houston, TX 77094


              VICTORIA FIRE & CASUALTY
              PO BOX 55126
              BOSTON, MA 02205-5126


              WalMart
              7000 Marina Blvd.
              Brisbane, CA 94005


              Zeneth Aquisition
              170 Northpointe Parkway
              Amherst, NY 14228
